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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No. CR20-052-N-DCN
                Plaintiff,
                                                   GOVERNMENT’S RESPONSE RE
        vs.                                        PETITION TO UNSEAL EXHIBITS AND
                                                   RECORDS FOR USE IN CIVIL CASE
 TRINA MARIE WELCH,

                Defendant.



       The United States of America, by and through Joshua D. Hurwit, United States Attorney,

and the undersigned Assistant United States Attorney for the District of Idaho, files this response

to Keith Sims and Kasco of Idaho, LLC’s Petition to Unseal Exhibits and Records for Use in

Civil Case. (ECF 95.) The United States respectfully submits that it does not object to Kasco’s

request to unseal the exhibits and portion of the record as outlined in the motion.

       DATED this 1st day of November, 2022.

                                              JOSHUA D. HURWIT
                                              UNITED STATES ATTORNEY
                                              By:

                                              s/ Traci J. Whelan
                                              TRACI J. WHELAN
                                              Assistant United States Attorney



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 01, 2022, the foregoing GOVERNMENT’S

RESPONSE was electronically filed with the Clerk of the Court using the CM/ECF system, and

that a copy was served on the following parties or counsel by:

 Amy Rubin                                           ECF
 Amy_Rubin@fd.org

 Steve Roberts
 Steve_Roberts@fd.org




                                                           s/ Carin Crimp
                                                           Legal Assistant




GOVERNMENT’S RESPONSE - 2
